         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 1 of 25




                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      CRIMINAL NO.

I]NITED STATES OF AMERICA                             DATE FILED:

                                                      VIOLATIONS:


BRANDON SEGERS                                        18 U.S.C. $ 1349 (conspiracy to commit
DIONNE SEGERS                                         wire fraud   - 1count)
MICHAEL MATTHEWS                                      18 U.S.C. $ 1343 (wire fraud  -  7 counts)
                                                      18 U.S.C. $ 641 (theft of public money   -
                                                      4 counts)
                                                      18 U.S.C. $ 371 (conspiracy to defraud
                                                      the United States - I count)
                                                      18 U.S.C. $ 2 (aiding and abetting)
                                                      Notice of forfeiture


                                     INDICTMENT
                                         COT]NT ONE

THE GRAND JURY CIIARGES THAT:

              At times material to this indictment:

                                      INTRODUCTION

              l.     On March 13, 2020, the President declared the ongoing COVID-I9

pandemic to be an emergency under Section 501(b) of the Robert T. Stafford Disaster Relief and

Emergency Assistance Act.

              2.     On March 27, 2020, the Coronavirus Aid, Relie{ and Economic Security

Act (CARES Act) was signed into law. The CARES Act created the PUA                      (Pandemic




                                                1
            Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 2 of 25




Unemployment Assistance) program, which provided unemployment benefits to individuals not

eligible for regular unemployment compensation or extended unemployment benefits.

                3.        The PUA program was administered by the various states, including the

Commonwealth of Pennsylvani4 but its benefits were funded by the federal govemment. In

Pennsylvania" the Pennsylvania Department of Labor and Industry (PA DLD administered the

PUA program, on behalf of the United States Department of Labor, which was responsible for

overseeing the PUA program.

                 4.        PA DLI required that a PUA claim be made online via the PUA website,

https://pua.benefits.uc.pa.gov. The applicant was required         to   enter personal identification

information @II), including name, date of birth, social security number, email address, telephone

number, and a physical address. An applicant was also required to answer a series ofquestions that

enabled the PA    DLI to determine the applicant's eligibility and payment amount. Once awarded

PUA benefis, the applicant was required to submit weekly certifications showing continuing

eligibility. While      each state administered the application slightly differently, every state

referenced in this indictment required that the application for PUA benefits as well as the weekly

certifications be made online.

                 5.       While each state administered its own PUA program, the application used

by each state was a standard online application form. The form consisted of27 different sections

including   a range   ofquestions within each section. Some ofthe questions asked for the applicant's

PII and biographical information while other questions dealt with the applicant's eligibility for the

progam and work history. An applicant was required to provide his or her current employment




                                                    2
            Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 3 of 25




status and answer     if   he or she was able to accept      ajob ifoffered. If the applicant could not accept

ajob, the applicant was required to provide          a reason   for not being able to accept ajob.

                 6.            The applicant was also asked whether they were unemployed as a result       of

a pandemic or    major disaster. If the applicant's employment had not been affected as a result ofa

pandemic or major disaster, the applicant was not eligible for PUA benefits.                If the applicant's

employment had been affected by a pandemic or major disaster, the application was also required

to note in which state the applicant was affected by the pandemic or major disaster and the nature

ofthe pandemic or major disaster.

                 7.            ln the 'self-certification'    section of the application, the applicant was

required to answer questions regarding the nature and impact ofa pandemic or major disaster on

the applicant's employment status. First, the applicant was required to disclose the pandemic or

major disaster which affected the applicant's employment. An applicant was only eligible to

receive weekly PUA benefits if the applicant was unemployed for reasons related to the COVID-

19 pandemic. Second, the applicant was required to disclose the date             ofthe applicant's last day of

work. Finally, ifthe applicant quit theirjob due to COVID-I9, the applicant was required to supply

a reason   for quitting.

                 8.            As to all of these preceding questions, the applicant was required to

"acknowledge that          I   understand that making the certification is under penalty       of perjury and

intentional misrepresentation in self-certifoing that I may fall in one or more ofthese categories is

fraud."

                 g.            The applicant was also required to complete another certification, under

penalty of perjury, that if offered ajob, the applicant must be able to accept it. An applicant must


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            Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 4 of 25




read and understand the PUA Compensation Handbook, which indicated that any eamings must

be reported for each week a person works. The applicant was also required to cerdry once again

as   to the application that "all information is true and complete" and that if the applicant provided

false information the applicant could be subject to criminal prosecution.

                  10.    IfPA DLI or another state's administrative agency approved an application

for PUA benefits, the applicant was then eligible to receive benefits in the form of          checks,

electronic fund transfers, or debit cards, and the checks and debit cards were mailed via the United

States Postal Service to the physical address that appeared on the application. When a state agency

approved an applicant's eligibility, the agency also established the applicant's period of benefits,

amount of weekly benefit, and maximum total benefit .rmount. However, even after this occured,

the applicant did not receive the benefits unless the applicant performed the appropriate weekly

certifications.

                  11.    The recipient   ofPUA benefits received   a unique applicant number that


corresponded to the applicant's initial application and weekly certifications. Payments for PUA

were based on a seven-day period, from Sunday through Saturday. Thus, the benefits recipient was

required to certifu every seven days that he or she: a) was ready, willing and able to work each

day; b) was seeking full time employment; c) did not refuse any job offers or referrals; and, d) had

reported any employment during the week and the gross pay or other payments received. The

weekly certification was required to be completed in a timely manner. A delay in the weekly

certification could result in a delay or denial of firther payments.

                  12.    Defendants BRANDON SEGERS and MICHAEL MATTHEWS were

federal inmates in the custody of the Bureau ofPrisons ('BOP'). At one time, both of these


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            Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 5 of 25




defendants were incarcerated at the Federal Corrections Institution   ('FCI'), Cumberland in

Maryland. These defendants were also incarcerated with M.P., M.W', D.D. and T.C. at this

facility.

               13.       On March 30,2020, defendant BRANDON SEGERS was released from

FCI Cumberland to a halfiray house and subsequently, on April 15, 2020, was released to home

confinement. Defendant SEGERS' home confinement concluded on Augu st 28,2020.

                14.      T.C. was in the custody of the BOP.

               15.       D.D. was in the custody of the BOP.

                16.      M.P. was in the custody of the BOP.

                17.      Defendant MICHAEL MATTHEWS was in the custody of the BOP.

                18.      M.W. was in the custody of the BOP from May 11,2015 until he was

released on September 27, 2021    .


                          CONSPIRACY AI\D THE SCHEME TO DEFRAUD

                I   9.   From on or about March 4, 2020 to on or about February 7, 2021 in the

Eastem District of Pennsylvania" and elsewhere, defendants

                                       BRANDON SEGERS,
                                        DIONNE SEGERS,
                                                and
                                      MICHAEL MATTHEWS

conspired and agreed together and with other persons known and unknown to the Grand Jury to

commit wire fraud, that is, to devise and intend to devise a scheme to defraud various state and

federal agencies, and to obtain money and property, specifically PUA benefits, by means of false

and fraudulent pretenses, representations, and promises, in violation of   Title   18, United States

Code, Section 1343.

                                                  5
          Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 6 of 25




                                    MANNERANDMEANS

               It was part ofthe scheme that:

               20.     Defendant BRANDON SEGERS communicated                     with   defendant

MICHAEL MATTHEWS while defendant MATTHEWS was incarcerated at FCI Cumberland via

telephone and email. Defendant MATTHEWS collected the necessary personal identifuing

information (PII) of other inmates for PUA applications to be filed and then transmitted the inmate

PII to defendant BRANDON SEGERS via telephone and/or email.

               21.     Defendant BRANDON SEGERS took the inmates' PII transmitted by

defendant MICHAEL MATTHEWS, and defendants BRANDON SEGERS and defendant

DIONNE SEGERS caused fiaudulent PUA applications to be filed online using the information.

               22.     Defendants BRANDON SEGERS and DIONNE SEGERS also caused

fraudulent PUA applications to be filed in the state of Pennsylvania under their names and using

their PII. Defendant BRANDON SEGERS also caused a fraudulent PUA application to be filed in

his name in the state of Massachusetts.

               23.     As part of both their own applications and the inmate          applications,

defendants BRANDON SEGERS and DIONNE SEGERS caused PUA benefits to be directly

deposited into their bank accounts or caused US Bank debit cards to be mailed to an address they

controlled listed on the application.

               24.     After they received and   accessed the   US Bank debit cards, defendants

BRANDON SEGERS and DIONNE SEGERS made expenditures directly from the cards,


                                                 6
             Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 7 of 25




withdrew cash from the cards, or transferred money from the cards to other bank accounts.

Additionally, defendants BRANDON SEGERS and DIONNE SEGERS also spent PUA benefits

that had been deposited directly into their bank accounts.

                25.    As payment for providing inmate information, defendants BRANDON

SEGERS and DIONNE SEGERS caused deposits to be made to the commissary accounts of each

incarcerated inmate. These deposits were made onto the commissary accounts             of   defendant

MICHAEL MATTHEWS and inmates T.C., M.P. and M.W. The deposits were made via Westem

Union wire tansfer or by sending money to a BOP address in Iowa.

                                         OYERTACTS

                In furtherance of the conspiracy, and to accomplish its object, the defendants

committed the following overt acts, among others, in the Eastem District of Pennsylvania and

elsewhere:

                l.     On or about March 4, 2020, defendant MICHAEL MATTHEWS sent an

email to an account at the address 3600bez@gmail.com. The contact name that defendant

MATTHEWS listed for this email on the BOP registry was listed as "Yb Nba".

                2.     On or about March 17, 2020, at approximately ll:17 a.m., defendant

MICHAEL MATTHEWS received an email from defendant BRANDON SEGERS using the

address 3600bez@gmail.com and stating, "Yea bro I've deffbeen thinking about it me an my wife

gonna probably take a dime a piece...bro   it's   so much to do call me when u get a chance."

                3.     On or about March 17, 2020, at approximately 7:21 p.m., on a BOP

recorded line, defendant MICHAEL MATTHEWS placed a               cdl to (,143)-978-9120, which was




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              Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 8 of 25




registered to defendant BRANDON SEGERS. Defendant MAT-THEWS listed the subject name

for this phone number as "Yb Nba" in the BOP registry associated with his call list.

                  4.     On or about June 17,2020, at approximately 9:51 a.m, on a BOP recorded

line, defendant MICHAEL MATTIIEWS placed a telephone call to defendant BRANDON

SEGERS        at (443)-978-9120. On this call, defendant BRANDON SEGERS told                             defendant

MATTHEWS that he was going to "Westem Union" him "some money." Defendant BRANDON

SEGERS then stated, '1his unemployment shit, this shit is cra.ry. I wish I had the time to talk to

you." Defendant MATTHEWS then stated"              "l   wish     I   could talk     to you too." Defendant
BRANDON SEGERS then told defendant MATTIIEWS, "I might have to have you call me back

because   I   can do your shit right and have your unemployment check sitting so when you come

home you can have a nice little check sitting on you."

                  5.     On or about June 17, 2020,      x   the call continued, defendant DIONNE

SEGERS asked defendant BRANDON SEEGERS "foT the account number...for the money."

Defendant BRANDON SEEGERS then asked defendant MICHAEL MATTIIEWS for his inmate

register number and defendant MATTHEWS provided his BOP number. Defendant BRANDON

SEEGERS also asked defendant MATTHEWS for his social security number in order to file an

unemployment application on behalf of defendant MATTIIEWS. Later in the call, defendant

BRANDON SEEGERS said "I've been making like 5 grand a week offthis shit tho."

                  6.    After this call, at approximately,   1   I :03 a.m. on or   about   Jlur;le   17,2020,

defendant DIONNE SEGERS wired $100 dollars into the BOP commissary account of defendant

MICHAEL MATTHEWS.




                                                  8
              Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 9 of 25




                  7.        Also on or about June 17,2020, defendant MICHAEL MATTHEWS sent

defendant BRANDON SEGERS an email providing his own social security number and stating,

..Yo Bro...I can't stress how impo(ant this info is. . .but you know...so please Bro, protect me like


you would protect yourself...Michael A. Matthews, SS# xxx-xx-xxxx."

                  8.        On or about June 18, 2020, defendant BRANDON SEGERS emailed

defendant MICHAEL MATTHEWS telling him, "Bro I need ur May send me that ASAP an I got

u   bro...". Defendant MATTHEWS replied        a short time later and provided his birthday.


                  9.        On or about July 6,2020, defendant MICHAEL MATTHEWS sent

defendant BRANDON SEGERS an email with inmate M.P.'s phone number and correct social

security number.

                  10.       On or about July 8, defendant   MICHAEL MATTHEWS         sent defendant


BRANDON SEGERS an email with M.P.'s conect social security number and date of birth.

                  11.       On or about July 10, 2020 defendant MICHAEL MATTHEWS                   sent

defendant BRANDON SEGERS an email containing the social security number and date of birth

of inmate M.K..

                      12.   On or about July 12,2020, defendant DIONNE SEGERS sent $1,000 to

inmate M.W.'s BOP commissary account via Westem Union wire transfer. On the transfer details,

defendant DIONNE SEGERS listed her address as 22149 N 30fr Sreet, Philadelphi4 PA.

                  13.       On or about July 12,2020, defendants BRANDON SEGERS and DIONNE

SEGERS sent defendant MICHAEL MATTHEWS the following deposits on his BOP account:


            Amount                    Name                         Address
        I   $500.00                   Segers, Dionnee              2449 N 30th Street          I




                                                    9
         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 10 of 25




       s500.00                      Segers, B                     2449 N 30ft Street
       $500.00                      S,D                           2449 N 30fr Street
       $400.00                      S   D                         2449 N 30s Street

       s500.00                      S,D                           2449 N 3 Ofi Street
       $500.00
                                I
                                    S   D                         2449 N 30d Street
                                I



       $s00.00                      S,D                           2449 N 30s Street


                 14.   After these transfers were made, later on or about htly 12,2020' defendant

MICHAEL MATTHEWS and defendant BRANDON SEGERS had a phone conversation.

Defendant MATTHEWS told defendant BRANDON SEGERS "not to do it again" because "all

the five, five, five looks crazy" and that      it looks "spooky". At the end of the call, defendant

MATTHEWS told defendant BRANDON SEGERS to hold on to his money until future notice.

                 15.   On or about July 12,2020, defendant      MICHAEL MATTHEWS           sent an


email to defendant BRANDON SEGERS with the social security number and email of FCI

Cumberland inmate D.D.

                       All in violation of Title   18, United States Code, Section 1349.




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         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 11 of 25



                              COUNTS TWO THROUGH EIGHT

THE GRAI{D JURY FURTHER CHARGES THAT:

               1.       The allegations in paragraphs   I through l8 ofCount   One are incorporated

herein

                                          THE SCHEME

               2.       Beginning on or about March4,2020, and continuing until on or about

February 7, 2021, within the Eastem District of Pennsylvani4 the District of New Jersey, aad

elsewhere, defendants

                                      BRANDON SEGERS,
                                     DIONNE SEGERS, and
                                    MICTIAEL MATTHEWS,

together and with co-schemers known and unknown to the Grand Jury, devised and intended to

devise a scheme to defraud and to obtain money and property by means of false and fiaudulent

pretenses, representations, and promises.

                                    MAI{NERAND MEAI\S

               3.       Paragraphs 20 through 25 of Count One are incorporated here.

                                          WIRE FRAUD

              4.        On or about each of the following dates, in the Eastem District   of
Pennsylvania, and elsewhere, defendants

                                      BRANDON SEGERS,
                                     DIONNE SEGERS, and
                                    MICIIAEL MATTHEWS,

together with other co-schemers known and unknown to the Grand Jury, for the purpose of

executing the scheme described above, knowingly transmitted and caused to be transmitted by


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         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 12 of 25




means of wire communication in interstate   co lmerce, the following writings, signs, signals and

pictures, each wire communication constituting a separate count:

 COUNT                  DATE                    DESCRIPTION

 TWO                    06n0t2020              Wire communications between an electronic
                                               device in Philadelphi4 Pennsylvania and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                               Pennsylvania
 THREE                  5n812020               Wire communications between an electronic
                                               device in Philadelphia, Pennsylvani4 and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                                Massachusetts
 FOUR                   0511712020             Wire communications between an electronic
                                               device in Philadelphia, Pennsylvania and a
                                               server in California to submit an electronic
                                               application for PUA benefrts from the state of
                                               Pennsylvania
 FIVE                   06/18t2020             Wire communications between an electronic
                                               device in Philadelphia, Pennsylvania and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                               P        vanla
 SIX                    06121/2020             Wire communications between an electronic
                                               device in Philadelphia, Pennsylvania and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                               Pennsylvania
 SEVEN                  07109/2020             Wire communications between an electronic
                                               device in Philadelphi4 Pennsylvania and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                                       lvania
EIGHT                   07nl12020              Wire communications between an electronic
                                               device in Philadelphia, Pennsylvania and a
                                               server in Califomia to submit an electronic
                                               application for PUA benefits from the state of
                                               Pennsylvania




                                               12
Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 13 of 25




    All h violation of Title   18, United States Code, Section 1343




                                       13
          Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 14 of 25




                                            COUNT NINE

THE GRAND JURY FURTHER CHARGES TTIAT:

               1.      The allegations in paragraphs I through 18 of Count One are incorporated

herein.

               2.      From on or about March 4, 2020 to on or about February 7,2021 in the

Eastem District of Pennsylvani4 and elsewhere, defendants

                                      BRANDON SEGERS,
                                     DIONNE SEGERS, and
                                    MICHAE,L MATTHT],WS

knowingly and willfully conspired and agreed together and with each other, and with other persons

known and unknown to the Grand Jury, to defraud the United States, specifically of Pandemic

Unemployment Assistance funds under the care of the United States Departrnent of Labor.

                                    MAIINERAI\D MEAI{S

               3.      Paragraphs 20 through 25 of Count One are incorporated here.

                                            OVERT ACTS

               4.      Paragraphs 1 Through 15      ofthe Overt Acts section ofcount One   are

incorporated here.

               All in violation of Title   18, United States Code, Section 371.




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           Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 15 of 25




                                                   COUNT TEN

TI{E GRAI\D JTJRY FURTIIER CHARGES THAT:

                 1.      The allegations in paragraphs          I through l8 and 20 through   25 of Count

One are incorporated herein.

                 2.      On June 10,2020, an application for Pennsylvania PUA benefits was filed

in the name of defendant BRANDON SEGERS. This application was transmitted to a server in the

state   of Califomia from the IP address of 71.225.28.71, registered at the address of            2,149   N 30fi

Street, Philadelphi4 Pennsylvania. The application listed defendant BRANDON SEGERS

residential and mailing address for benefits as 3823 N 16th Street, Philadelphia, PA. The application

stated that defendant   BRANDON SEGERS lost             his   job due the COVID-l9 pandemic, that he closed

his business due to COVID-I9, and that his las day of work was March 1, 2020. These statements

were false as defendant BRANDON SEGERS was incarcerated on March                       l, 2020.

                 3.      The application falsely stated that defendant BRANDON SEGERS made

the following amounts in 2019:

                         What   was   your   net   earnings   for   the lst quarter of2019? $8,000.00
                         What   was   your   net   eamings    for   the 2nd quarter of 2019? $8,000.00
                         What   was   your   net   eamings    for   the 3rd quarter of 2019? $9,000.00
                         What   was   your   net   earnings   for   the 4th quarter of 2019? $9,000.00

                         These statements were also false as defendant BRANDON SEGERS was

incarcerated throughout 2019 and did not earn these amounts.

                 4-      Defendant BRANDON SEGERS' application was approved for benefits. As

a result of the false stalements on the               Pennsylvania application and subsequent weekly




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         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 16 of 25




certifications, defendant BRANDON SEGERS received a total of $16,680 in the form of two

checks and a US Bank debit card.

               5.     From on or about June 10,2020,1o on or about February 7,2021,       nthe

Eastem District of Pennsylvani4 and elsewhere, defendant

                                      BRANDON SEGER-S

did knowingly steal and convert to his use or the use of another, money or a thing of value of the

United States, specifically, Pandemic Unemployment Assistance funds under the care of the

United States Department ofl-abor, in a value exceeding $1,000.

               ln violation of Title 18, United States Code, Sections 641 and 2.




                                                t6
           Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 17 of 25




                                             COUNT ELEVEN

THE GRAND JURY FURTHER CHARGES THAT:

                 l.     The allegations in paragraphs I through 18 and 20 through 25 of Count

One are incorporated herein.

                 2.     On May 17,2020, a PUA application for the state of Pennsylvania was                       filed

in the name of defendant DIONNE SEGERS. This application was transmitted to a server in the

state   of Califomia fiom the IP address of        7   1   .225 .28.7 1 registered   to the address of   22149   N 30ft

Street, Philadelphi4 Pennsylvania. The application listed the residential and mailing address for

benefits as 2,149 N 30th Steet, Philadelphia. Pennsylvania. The application stated that defendant

DIONNE SEGERS was working part-time. However, the application also stated that defendant

DIONNE SEGERS lost herjob due to the COVID-l9 pandemic and her last day of work was March

r,2020.

                3.      The wages section of the application falsely listed defendant DIONNE

SEGERS as self-employed with the following wages for 2019:

                        What   was   your   net   eamings        for   the lst quarter of 2019? $ 0.00
                        What   was   your   net   eamings        for   the 2nd quarter of2019? $ 700.00
                        What   was   your   net   earnings       for   the 3rd quarter of20l9? $ 700.00
                        What   was   your   net   eamings        for   the 4th quarter of 2019? $ 700.00

                        In fact, state wage and payroll records reveal that defendant DIONNE

SEGERS was not self-employed in that period and made over $10,000 in wages in each of those

quarters in 2019.

                4.       Weekly certifications for this application were submitted for weekly periods

from March     l,   2020 to November        ll,2020         falsely stating under the penalty of perjury that

defendant DIONNE SEGERS continued to not be employed and was not receiving income, when

                                                            17
         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 18 of 25




in fact defendant DIONNE SEGERS was employed during this period and receiving regular payroll

payments to her bank account.

               5.     As a result ofthe fraudulent application and weekly certifications, defendant

DIONNE SEGERS received $14,008 in Pennsylvania PUA benefits.

               6.     From on or about May 27,2020,to on or about February 7,2021, inthe

Eastem District of Pennsylvani4 and elsewhere, defendant

                                       DIOIIIVE SEGERS

did knowingly steal and convert to her use or the use of another, money or a thing ofvalue of the

United States, specifically, specifically, of Pandemic Unemployment Assistance funds under the

care of the United States Department of Labor, in a value exceeding $1,000.

               In violation of Title 18, United States Code, Sections 641 and 2.




                                                18
           Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 19 of 25




                                        COI'NTTWELVE

THE GRAND JURY FURTHERCHARGES THAT:

               l.       The allegations in paragraphs 1 through 18 and 20 through 25 of Count

One are incorporated herein.

               2.       On or about June 17, 2020, defendant MICHAEL MATTHEWS                       sent

defendant BRANDON SEGERS an email providing his own social security number and stating,

"Yo Bro...I can't   stress how important this   info is...but you know...so please Bro, protect me like

you would protect yourself.. .Michael A. Matthews, SS# xxx-xx-xxxx."

               3.       On or about June 18, 2020, defendant BRANDON SEGERS emailed

defendant MICHAEL MATTHEWS telling him, "Bro I need ur bday send me that ASAP an I got

u   bro...". Defendant MATTIIEWS replied        a short time later and provided his birthday.

               4.       On June 18,2020, a PUA application for the state of Pennsylvania was filed

using defendant MICHAEL MATTHEWS' name, date of birth, and social security number. This

application was transmitted to a server in the state of Califomia from the IP address of 71.225.28.71

registered at the address of2449 N 30s Street, Philadelphia Pennsylvania. The application falsely

listed defendant MATTHEWS' residential and mailing address for benefits as 2451 N 30s Street,

Philadelphi4 Pennsylvania. Defendant MATTHEWS' application falsely stated that he lost his job

due the   COVID-I9 pandemic    and that he was    willing and able to accept a job offer at any time, and

also falsely stated that defendant MATTHEWS was allected by the pandemic in the state                 of

Pennsylvani4 when in fact defendant MATTHEWS was incarcerated during the relevant time

period in Maryland.




                                                    l9
           Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 20 of 25




                5.        From June 19,2020 to July 9,2020, weekly certifications were submitted

falsely stating that defendant MICHAEL MATTHEWS was willing and able to accept                a   job offer.

As a result of the false application and weekly certifications, $14,280 was distributed to the US

Bank debit card associated with defendant MATTHEWS' application.

                6.       From on or about June 1 8, 2020, to on or about February   7   , 2021 , in the

Eastem District of Pennsylvania, and elsewhere, defendants

                                          BRANDON SEGERS
                                                   and
                                     MICHAEL MATTHEWS

did knowingly steal and convert to their use or the use ofanother, money or a thing ofvalue ofthe

United States, specifically, specifically, of Pandemic Unemployment Assistance funds under the

care   ofthe United   States Department   oflabor, in a value exceeding $1,000.

                In violation of Title 18, United States Code, Sections 641 and2.




                                                   20
         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 21 of 25




                                       COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

              At times material to this indictment:

                                         EIDLPROGRAM

               1.     On March27 ,2020,the Coronavirus Aid, Relief, and Economic Security Act

("the CARES Act") (Pub.      L.   116-136) became law and provided emergency assistance for

individuals, families, and businesses affected by the coronavirus pandemic. The GARES Act

provided multiple programs for businesses including the Economic Injury Disaster Loan ("EIDL")

pro$am. The EIDL program provided low-rate emergency loan options for struggling businesses

for amounts up to $500,000. This program is administered by the Small Business Administration

("SBA). Applications for the EIDL program      are made through an online SBA portal.

              2.      As part of the application progress, an applicant was required to submit

information about the applicant's business. This information included, amongst other categories,

the organization type ofthe business, gross revenues for the twelve months preceding January 31,

2020, cost of goods sold for the twelve months preceding January      3   l,   2020, and the number   of

employees working at the business.

               3.     As part ofthe application, an applicant can also request an emergency

advance of$10,000. The SBA     will   pay this emergency advance within three days     ofthe applicant

submitting the information. To receive this advance and/or the ultimate loan, the applicant must

enter bank account information for the advance funds and/or loan to be deposited into.

               4.     Before an applicant can submit the application, the applicant must certiry,

under the penalty ofperjury and laws of the United States, that the information on the application


                                                 21
          Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 22 of 25




is true and correct.

                5.      The SBA proscribes limited uses for any frrnds, including the emergency

advance, dispersed under this program. The SBA requires that the applicant only "use all

proceeds of this Loan solely as working capital to alleviate economic injury caused by disaster

occurring in the month of January 31, 2020 and continuing thereafter and to pay Uniform

Commercial Code (UCC) lien filing fees."

                DIONNE SEGERS' EIDL APPLICATON AI\D USE OF FT]I{DS

                6   .   On or about Jun e 20 , 2020 , defendant DIONNE SEGERS submitted an

EIDL program application to the SBA for     a business   for which defendant she was listed as the

sole proprietor and owner. The application listed that the business address was 2449    N 30e Street,

Philadelphia PA 19140, which is defendant DIONNE SEGERS' residential address as well as the

address listed as her residential and mailing address on the PUA application submitted under her

name

                7.      The EIDL application listed that the business type was agriculture and was

also a non-profit. Additionally, the application listed that the business had 40 employees and had

the following revenue statistics: $14,500 in gross revenue, $18,000 for cost of goods, and $8,000

cost ofrental properties. The application also requested an emergency advance of$ 10,000 and listed

defendant DIONNE SEGERS'Navy Federal Credit Union personal checking account information

as the bank   information where the emergency advance should be deposited.

                 8.     Prior to submitting the application, defendant DIONNE SEGERS caused to

be certified that all information on the application was true and correct under the penalty   ofthe laws

of the United States and perjury. The statements on the application were not true and correct but


                                                 22
          Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 23 of 25




false as the business did not exist.

                9.       On or about June 23, 2020, the SBA deposited the emergency advance     of

$10,000 requested on the application into defendant DIONNE SEGERS' Navy Federal Credit

Union personal checking account.

                10.      Thereafter, from on or about June 23, 2020, to on or about J'xe 26,2020,

defendant DIONNE SEGERS did not spend the emergency advance on proper business uses as

required under the application by the SBA. Rather, defendant DIONNE SEGERS transferred

portions ofthe emergency advance to her personal savings account and spent the remaining portion

of the emergency advance on personal goods and items. Defendant DIONNE SEGERS spent the

emergency advance on large purchases at luxury retailers, at a hair salon, on a car payment and

loans, at food stores and a phone   bill, amongst others.

                I   1.   From on or about June 20, 2020 to on or about June 26, 2021 in the

Eastem District of Pennsylvani4 and elsewhere, defendant

                                         DIONI{E SEGERS

did knowingly steal and convert to her use or the use of another money or a thing of value of the

United States, specifically, Economic Injury Disaster Loan (EIDL) funds under the care of the

United States Small Business Administration, in a value exceeding     $   1   ,000.

                In violation of Title I 8, United States Code, Sections 641     .




                                                   23
             Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 24 of 25



                                          NOTICE OF

THE GRAND JURY FURTIIER CHARGES THAT:

                     At all times relevant to this indictment:

                      1.     As a result ofthe violations ofTitle 18. United States Code, Sections, 641,

and 1343, as set forth in this indictment, defendants,

                                              BRANDON SEGERS
                                                    And
                                               DIONNE SEGERS,

shall forfeit to the United States of America any property that constitutes, or is

derived from, proceeds traceable to the commission of such offenses, including, but not limited

to, the sum of$181,765.00.

                     2.     If   any of the prop€rty subject to forfeiture, as a result of any act or omission

of the Defendant:

                            (a)       cannot be located upon the exercise ofdue diligence;

                            (b)       has been transferred or sold to, or deposited     wit[   a   third party;

                            (c)       has been placed beyond the    jurisdiction of the Court;

                             (d)      has been substantially diminished in value;      or

                             (e)      has been commingled      with other property which carurot be divided

                                      without difficulty;

it   is the intent   ofthe United   States, pursuant to   Title 28, United States Code, Section 2461(c)

incorporating Title 21, United States Code, Section 853(p), to           seek.   forfeiture of any other

property ofthe Defendant up to the value ofthe property subject to forfeiture.




                                                          24
         Case 2:21-cr-00426-RBS Document 1 Filed 10/28/21 Page 25 of 25




              All pursuant to Title   28, United States Code, Section 2461(c) and   Title   18, United


States Code, Section 981(a)(1)(C).




                                                      A TRUE BILL:




                                        +'.-
JENNIFER ARBITTIER WILLIAMS
ACTING UNITED STATES ATTORNEY




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